Case 2:05-cV-02141-SHI\/|-tmp Document 5 Filed 06/15/05 Page 1 of 5 Page|D 12

F”.E[) l!:'_]w
IN THE UNITED STATES DISTRICT COURT f § :J.r‘

 

WESTERN DISTRICT oF TENNESSEE 95 JU.A; , 5 p
WESTERN I)IVISION 9 ll 2= 55
.OB~¢:, - ,-
C_ .:§,'_»' _!"?. U' '~'
sHERRY MoTEN, ) v=.<l;§j[;§¢ f S,§§G¢§IT@
) "l’ fs\'$i§‘fvff?}.;{`§
Plaintiff. )
) Case No. 05-2141-Ma-P
V- )
)
wAL-MART sToREs, INC., ) JURY DEMANDED
)
Defendant. )
sCHEDULING oRl)ER

 

Pursuant to Written notice, a scheduling conference Was held on June 23, 2005. Present
Were James E. King, Jr., counsel for Plaintiff, and Brian A. Lapps, Jr., counsel for Defendants.
At the conference, the following dates Were established as the final dates for:

lNITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(l): July 7, 2005

JOINING PARTIES: August 22, 2005

AMENDING PLEADINGS: August 22, 2005

INITIAL MOTIONS TO DISMISS: September 23, 2005

COMPLETING ALL DISCOVERY: January 23, 2006

(a) DOCUMENT PRODUCTION: January 23, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:

Janua;ry 23, 2006

T:..s document entered on the docket ehe¢sl:n compliance

a l ,
1119118'1 Wltn Ru.e 58 and/or r9(a) FRCF’on

Case 2:05-cV-02141-SHI\/|-tmp Document 5 Filed 06/15/05 Page 2 of 5 Page|D 13

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:
November 21, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: December 21, 2005

(3) EXPERT WITNESS DEPOSITIONS: January 23, 2006

FILING DISPOSITIVE MOTIONS: February 23, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, Which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived

This case is set f`or jury trial. The pretrial order date, pretrial conference date, and trial
date Will be set by the presiding judge. The parties anticipate that the case Will be ready for trial
On May 243 2006 lt 35 omit ct fq“l'eof the 'fri`Q/- will /¢is'f 3~ Ll dla?s,

This case is appropriate for ADR. The parties are directed to engage in court-annexed

attorney mediation or private mediation after the close of discovery.

1119118.1

Case 2:05-cV-02141-SHI\/|-tmp Document 5 Filed 06/15/05 Page 3 of 5 Page|D 14

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

IT IS SO ORDERED.

'______________
WM
TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

DATE: :l`uv~es \§` ;uu§

1119118.1

Case 2:05-cV-02141-SHI\/|-tmp Document 5 Filed 06/15/05 Page 4 of 5 Page|D 15

AGREED AND APPROVED FOR ENTRY:

 

  

J mes E. King, Jr

Eskins, King & Sevier, P.C.

50 North Front Street, Suite 770
Memphis, Tennessee 38103
(90]) 578-6902

Attorneys for Plaintiff Sherry Moten

ll_i:=~ma>/:dt&l$f’

Brian A. Lapps, Jr.

l\/lonica G. Johnson

Waller Lansden Dortch & Davis, PLLC
51 l Union Street, Suite 2700
Nashville, TN 37219

(615) 244-6380

Attorneys for Defendant, Wal-Mart Stores, lnc.

1119118.1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02141 Was distributed by faX, mail, or direct printing on
.1 une 16, 2005 to the parties listed.

ESSEE

 

Bradley W. Eskins
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/lemphis7 TN 38103

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/lemphis7 TN 38103

Monica G. .1 ohnson

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Brian A. Lapps

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable Samuel Mays
US DISTRICT COURT

